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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,
                                                          Case No. 24-CR-41 (ABJ)
        v.

 GREGORY MIJARES,

        Defendant.

                      GOVERNMENT’S NOTICE OF WITHDRAWAL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby informs the Court that Assistant United States Attorney, Kaitlin

Klamann, as counsel for the United States, is terminating her appearance as counsel of record in

this matter. All other government counsel noted on the docket at the time of this filing will remain

counsel for the United States.



                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     UNITED STATES ATTORNEY
                                                     D.C. Bar No. 481052

                                              By:    /s/ Kaitlin Klamann
                                                     KAITLIN KLAMANN
                                                     Assistant United States Attorney
                                                     601 D Street N.W.
                                                     Washington, D.C. 20530
                                                     IL Bar No. 6316768
                                                     Kaitlin.klamann@usdoj.gov
                                                     (202) 252-6778
